     Case 3:20-cr-00249-RS            Document 451-1           Filed 01/10/25     Page 1 of 2




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 8                                  UNITED STATES DISTRICT COURT
 9
                                   NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN FRANCISCO DIVISION
11
     UNITED STATES OF AMERICA,                               Case No. 3:2-cr-00249-RS
12
                      Plaintiff,                             [PROPOSED] ORDER GRANTING
13
                                                             DEFENDANT ANDRADE’S
14           v.                                              ADMINISTRATIVE MOTION TO FILE A
                                                             MULTI-PART MOTION IN LIMINE IN
15 ROWLAND MARCUS ANDRADE,                                   EXCESS OF 25 PAGES
16                    Defendant.
                                                             Judge: Hon. Richard Seeborg, Chief Judge
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28    [PROPOSED] Order Granting Defendant Andrade’s                     Case Number: 3:20-cr-00249-RS - Page 1
      Administrative Motion to File a Multi-Part Motion in
      Limine in Excess of 25 Pages
     Case 3:20-cr-00249-RS            Document 451-1         Filed 01/10/25    Page 2 of 2




 1            On motion of the Defendant and good cause appearing therefore,
 2            IT IS HEREBY ORDERED
 3            That Defendant Marcus Andrade may file a multi-part motion in limine in excess
 4 of 25 pages as an exception to Crim. L.R. 47-2.

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 6 Dated: January ____, 2025

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                                                              _____________________________
 9                                                            HON. RICHARD SEEBORG
                                                              United States Chief District Judge
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      [PROPOSED] Order Granting Defendant Andrade’s                  Case Number: 3:20-cr-00249-RS - Page 2
      Administrative Motion to File a Multi-Part Motion in
      Limine in Excess of 25 Pages
